                               UNITED STATES DISTRICT COURT
                                                                                          Motion GRANTED.
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION                                    Hearing reset for
                                                                                          10/30/13 at 10:30 a.m.

   UNITED STATES OF AMERICA                       )
                                                  )
                                                  )
           v.                                     )        No. 3:12-00198-1
                                                  )        Judge Trauger
                                                  )
   PHILIP BRENT JOHNSON                           )

                                        MOTION TO CONTINUE

           Comes now the defendant, Philip Johnson, by and through counsel, Sumter L. Camp, and

   hereby moves this Honorable Court to continue the above styled cause which is presently set for

   October 3, 2013. In support of this motion defendant would refer the Court to the affidavit filed

   herewith.

                                                      Respectfully submitted,

                                                      s/ Sumter L. Camp
                                                      SUMTER L. CAMP
                                                      Assistant Federal Public Defender
                                                      Attorney for Defendant
                                                      810 Broadway Suite 200
                                                      Nashville, TN 37203
                                                      615-736-5047


                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of October, 2013, I electronically filed the foregoing Motion
to Continue with the clerk of the court by using the CM/ECF system, which will send a notice of
Electronic Filing to the following: the Honorable Philip H. Wehby and Clay T. Lee, Assistant United
States Attorneys, 110 9th Avenue South, Suite A961, Nashville, Tennessee 37203; David R. Heroux,
Haymaker & Heroux, P.C., 943 Main Street, Nashville, TN 37206; and Deanna Bell Johnson, P.O. box
2492, Brentwood, TN 37207.

                                               s/ Sumter L. Camp
                                               SUMTER L. CAMP



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